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In the United States District Court for the
Eastern District of New York
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CAPITOL 7 FUNDING,

                                Plaintiff,
                v.
                                                                 Docket No.
                                                                 17-cv-2374(RRM)(ST)

WINGFIELD CAPITAL CORPORATION,
PRESTIGE INVESTMENT ASSOCIATES, INC.,
D/B/A PRESTIGE INVESTMENTS USA, AND
FIRST CHOICE PAYMENT SYSTEMS, INC.,
D/B/A 1ST CHOICE PAYMENTS,

                                Corporate Defendants,

BURGIS SETHNA, A/K/A SETH BURGESS,
HEATH WAGENHEIM, JOSEPH RABITO,
DAMIAN LALJIE A/K/A DAMIAN LALTIE,
AND JOHN DOES 1 THROUGH 15,

                                 Individual Defendants.
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    NOTICE OF MOTION AND MOTION TO SET ASIDE ENTRY OF
          DEFAULT PURSUANT TO FED. R. CIV. P. 55(c)


TO THE HONORABLE COURT AND TO ALL PARTIES:

        PLEASE TAKE NOTICE that that on the enclosed Memorandum of Law in

Support of Defendants’ Motion to Set Aside Entry of Default, the Declaration of

Steven Metcalf II, and the exhibits attached thereto, Defendants Sethna Burgis, Heath

Wagenheim, and Wingfield Capital Corporation will move before the Honorable
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Magistrate Steven L. Tiscione, at the United States Federal Courthouse, Eastern

District of New York, 225 Cadman Plaza East, Brooklyn, New York 112001 upon

submission or on a date and time for oral argument to be set by this Court to set aside

entry of default for good cause, pursuant to Rule 55(c) of the Federal Rules of Civil

Procedure, and for any such other and further relief as the Court deems just and

proper.



Dated:       January 4, 2021                   Yours, etc.,
             New York, New York
                                              Steven   A. Metcalf
                                              __________________
                                              Steven A. Metcalf II
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                                              and Wingfield Capital Corp.
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